 

Case 1:19-cr-00183-ELH Document 12 Filed 06/07/19 Page 1of1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA

 

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v. Crim. No. ELH-19-183 mo ft
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IGOR ROSENSTEEL, re _* te 00
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Defendant. \ tee A, :
HORI RE \ we: lo
Toe
INTERSTATE AGREEMENT ON DETAINERS OP : moo: ‘
mo sop rc ee
I, Igor Rosensteel, defendant, having discussed with my attorney, Breskes H doa? , the wo

 

possible effect of the Interstate Agreement on Detainers (“IAD”) in my case, do hereby state:

1. Ihave previously been sentenced to serve a term of imprisonment by a state court in the state of
Maryland. I am currently serving that sentence and am in state custody.

2. Ipresently face charges in the U.S. District Court for the District of Maryland, and for this reason |
have been brought to the U.S, District Court in Baltimore, Maryland.

3. The JAD provides that I have the right to be held in federal custody until my trial on the federal

charges. I can waive that right and ask to be returmed to state custody where I am serving my state
sentence. ,

4, Under the IAD, I cannot be returned to my original place of imprisonment uniess ] waive my right to
stay in federal custody or unless a court orders me returned after reasonable notice and an opportunity
for a hearing. If] am otherwise returned without my consent or a court order to my original place of
imprisonment before my trial, the charges against me in federal court will be dismissed.

5, Ihave been advised of these IAD rights, | understand these rights, and I make the following election:
I want to remain in federal custady under the IAD.
X I want to return to state custody, and ] HEREBY WAIVE my rights under the IAD in
open court. I understand that by entering this waiver, I may be returned to my original

place of imprjsonment from time to time until my trial in federal court, and the charges
wh federal court will not be dismissed.

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Defendant

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Counsel for Defendant

      
 

 

Unitéd States Magistrate Judge

US. District Court (1 1/2016) Criminal Magistrate Forms: Interstate Agreement on Detainers

 
